                    UNITEDCase 13-36355-LMI
                           STATES BANKRUPTCYDoc   86 Filed
                                               COURT,         05/05/17
                                                        SOUTHERN         Page OF
                                                                    DISTRICT    1 ofFLORIDA
                                                                                     1
                               CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                            FIFTH Modified plan

  DEBTOR: A n d r e L . B r e v i l             JOINT DEBTOR:                                                  CASE NO.: 13-36355-LMI
  Last Four Digits of SS# 0792                  Last Four Digits of SS#

  MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s)
  to pay to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not
  collected will be paid to creditors pro-rata under the plan:

            A.      $ 574.34   for months 1to 40 ; in order to pay the following creditors:
            B.      $ 3,678.26 for months 41to 41; in order to pay the following creditors:
            C.      $ 193.56   for months 42to 60; in order to pay the following creditors:

  Administrative:             Attorney's Fee - $ 3650+ 2500 (MMMotion) + $525 (Motion to modify) + $262
                              (Motion to modify) $525 (Motion to modify) = 7462 TOTAL PAID $ 3,250
                              Balance Due $ 4212      payable $ 92.18/month (Months 1to 40)
                                                      payable $ 525/month (Months 41to 41)

  Secured Creditors: [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
  1. Ocwen Loan Servicing
  Address: PO BOX 6440                                     MMM Payment             $ 247.50/month (Months 1 to 40)
  Carol Stream IL 60197
  Account No: xxxx3768
  IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING
  YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT
  TO BR 7004 and LR 3015-3.

       Secured Creditor        Description of Collateral     Interest          Plan Payments        Months of Payment      Total Plan Payments
                               and Value of Collateral         Rate
  None                         $                                  %        $                              To

  Priority Creditors: [as defined in 11 U.S.C. §507]

  1. None                              Total Due $
                                       Payable $                  /month (Months               to    ) Regular Payment $

  Unsecured Creditors: Pay $ 211.90/month (Months 1to 40); Pay $ 2,785.43/month (Months 41to 41). and Pay $ 174.20/month
  (Months 42to 60).
  Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above: Debtor will continue to pay Mortgage to Capital One (Account No.XXX-4956) for
property 3240 May Street, #S207, Miami, FL 33131. Debtor will continue to pay 2nd mortgage Chase (Account No.XXX-
8091) for the property located: 9280 SW 123 Court Apt,406, Miami, FL 33186. Debtor is current and will continue to pay
Creditor, Toyota Motor Credit Corporation (Account No.XXX-1132) for the 2002 Lexus LS430. The debtor(s) is hereby
advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an annual basis during the
pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the Trustee with their filed tax
returns is modified to be on or before May 15 each year the case is pending and that the debtor shall provide the Trustee
with verification of their disposable income if their gross household income increases by more than 3% over the previous
year’s income.
 “The debtor has filed an OUT OF TIME Verified Motion for Referral to MMM with __ Ocwen Loan Servicing LLC
(FIRST MORTGAGE) (“Lender”), loan number __xxxx3768_, for real property located at _9280 SW 123 Court Apt,406,
Miami, FL 33186_. The Debtor and the Creditor reached an agreement at Mediation and the final report was entered at
ECF#77. The Debtor will pay this creditor direct and outside the bankruptcy plan.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.
         /s/ Robert Sanchez, Esq.
  Attorney for Debtor                                                   Joint Debtor
  Date: 5/5/2017                                                        Date:
  LF-31 (rev. 01/08/10)
